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                     Exhibit E:

  IRS Request for Information #3

               (October 9, 2012)
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Internal Revenue Service                                      Department of the Treasury
P.O. Box 2508
Cincinnati, OH 45201

Date: October 9, 2012
                                                              Employer Identification Number:
                                                               XX-XXXXXXX
True the Vote, Inc.                                           Person to Contact- Group #:
C/o Cleta Mitchell, Esq.,                                      Faye Ng -7821
Foley & Lardner LLP                                            ID# 0203259
3000 K Street N.W., Suite 600                                 Contact Telephone Numbers:
Washington, DC 20007-5109                                      513-263-3699 Phone
                                                               513-263-3662 Fax

                                                              Response Due Date:
                                                               November 26, 2012
-
Dear Sir or Madam:

Thank you for the information recently submitted regarding your application for exemption.
Unfortunately, we need more information before we can complete our consideration of your
application.

Please provide the information requested on the enclosed Information Request by the response
due date shown above. Your response must be signed by an authorized person or an officer
whose name is listed on the application. Also, the information you submit should be
accompanied by the following declaration:

         Under penalties ofperjury, I declare that I have examined this information,
         including accompanying documents, and, to the best of my knowledge and belief,
         the information contains all the relevantfacts relating to the requestfor the
         information, and such facts are true, correct, and complete.

If we approve your application for exemption, we will be required by law to make the application
and the information that you submit in response to this letter available for public inspection.
Please ensure that your response doesn't include unnecessary personal identifying information,
such as bank account numbers or Social Security numbers, that could result in identity theft or
other adverse consequences if publicly disclosed. If you have any questions about the public
inspection of your application or other documents, please call the person whose name and
telephone number are shown above.


To facilitate processing of your application, please attach a copy of this letter and the enclosed
Application Identification Sheet to your response and all correspondence related to your
application. This will enable us to quickly and accurately associate the additional documents
with your case file. Also, please note the following important response submission information:

    •   Please don't fax and mail your response. Faxing and mailing your response will result in
        unnecessary delays in processing your application. Each piece of correspondence
        submitted (whether fax or mail) must be processed, assigned, and reviewed by an EO




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    Determinations specialist.

•   Please don't fax your response multiple times. Faxing your response multiple times will
    delay the processing of your application for the reasons noted above.

•   Please don't call to verify receipt of your response without allowing for adequate processing
    time. It takes a minimum of three workdays to process your faxed or mailed response from
    the day it is received.

If we don't hear from you by the response due date shown above, we will assume you no longer
want us to consider your application for exemption and will close your case. As a result, the
Internal Revenue Service will treat you as a taxable entity. If we receive the information after
the response due date, we may ask you to send us a new application.


In addition, if you don't respond to the information request by the due date, we will conclude that
you have not taken all reasonable steps to complete your application for exemption. Under
Internal Revenue Code section 7428(b)(2), you must show that you have taken all the
reasonable steps to obtain your exemption letter under IRS procedures in a timely manner and
exhausted your administrative remedies before you can pursue a declaratory judgment.
Accordingly, if you fail to timely provide the information we need to enable us to act on your
application, you may lose your rights to a declaratory judgment under Code section 7428.


We have sent a copy of this letter to your representative as indicated in Form 2848, Power of
Attorney and Declaration of Representative.


If you have any questions, please contact the person whose name and telephone number are
shown in the heading of this letter.




                                                             Exempt Organizations Specialist

Enclosures: Information Request




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Additional Information Requested:

   1. The purpose clause on your amended Articles of Incorporation dated February 22, 2011
       states the following:
              Said organization is organized exclusively for charitable, religious, education, and
              scientific purposes, including, for such purposes, the making of distributions to
              organizations that qualify as exempt organizations under section 501 (c)(3) of the
              Internal Revenue code, or corresponding section of any future federal tax code.
              The specific and primary purpose of the Corporation is to educate/inform and
              register voters within the meaning of Section 501 (c)(3) of the Internal Revenue
              Code, or any federal tax code and the Texas Tax Code, Section 11.18.
       Your current amended purpose clause appears to permit you to operate for purposes
       beyond the scope of IRC 501 (c)(3) exempt purposes. In order to meet the
       organizational test for exemption under section 501 (c)(3) of the Code, please amend
       your Articles of Incorporation to state the following:
           Said organization is organized exclusively for charitable, religious, education, and
           scientific purposes, including, for such purposes, the making of distributions to
           organizations that qualify as exempt organizations under section 501 (c)(3) of the
           Internal Revenue code, or corresponding section of any future federal tax code. The
           specific and primary purpose of the Corporation is to educate/inform and register
           voters within the meaning of Section 501 (c)(3) of the Internal Revenue Code, or the
           corresponding section of any future federal tax code.


       Please file the amendment to your Articles of Incorporation with the Secretary of State's
       office in the State of Texas and submit a complete copy of the approved amendment to
       us. The copy you submit to us must show that it has been properly filed and approved
       by your appropriate state agency.

   2. You have submitted handouts on teambuilding and presentations used to mobilize and
      train your volunteers (including Tab 19 and Tab 20 of your response). However, we
      need additional information on the following:
           a. You indicated that your team builders will contact and speak with various groups
              to solicit for volunteers. Please provide a list of the names of the groups you
              have contacted to request an opportunity to speak with regarding your election
              integrity project.
           b. Please submit to us a copy of your volunteer registration form.
           c. On your presentation for Mobilization and Logistics Training, you mentioned that
              Command Center Coordinators are responsible for the handling of the
              Certificates of Appointments. Please describe in detail the responsibilities of
              your Command Center Coordinators with regard to the Certificates of
              Appointments for your poll watchers.
           d. Please describe how you partner with Local Parties, local Election Officials and
              other authorities to place your volunteers as poll workers or poll watchers.
           e. Please describe how your volunteers are deployed as election workers and poll
              watchers following the training they receive from you. Please describe the
              process you use to assign volunteers to perform as poll workers or poll watchers.
           f. Please describe how you keep your volunteers in teams within the assignment
              process.




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3. Please provide a breakdown of the total number of volunteers you have trained as poll
   watchers that:
                i. were appointed by Democratic candidates or the Democratic Party,
               ii. were appointed by Republican candidates or the Republican Party,
             iii. were appointed by other candidates and other political parties (please
                   specify the names the other parties).
4. Please provide a breakdown of the total number of volunteers you have trained as poll
   workers that:
                i. were appointed by the Democratic Party,
               ii. were appointed by the Republican Party,
              iii. were appointed by other political parties (please specify the names of the
                   other parties)?

5. You stated that you share volunteers, office space, costs as well as directors and
   officers (including your executive director) with the King Street Patriots.
        a. Please state the amounts you pay for your portion of operational costs and for
           the sharing of directors and officers.
        b. Please describe how your portion of the costs was determined in your cost
           sharing arrangement with Street Patriots. Please provide any documentation you
           have, which demonstrates that your portion of operational costs (facility rental
           fees, other costs, and sharing of directors and officers) is reasonable including
           documentation of other facility space considered.




           PLEASE DIRECT ALL CORRESPONDENCE REGARDING YOUR CASE TO:


           US Mail:                                     Street Address for Delivery Service:

           Internal Revenue Service                     Internal Revenue Service
           Exempt Organizations                         Exempt Organizations
           P. 0. Box 2508                               550 Main St, Federal Bldg.
           Cincinnati, OH 45201                         Cincinnati, OH 45202
           ATT: Faye Ng                                 ATT: Faye Ng
                   Room 4522                                  Room 4522
                   Group 7821                                 Group 7821




                                                                          Letter 2382 (5-2011)
                                                                          Catalog Number 57829T




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